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                                    STATEMENT OF FACTS

        Your Affiant,
         assigned to the Detroit Field Office. In my duties as a Special Agent, I investigate domestic
terrorism violations and other threats of violent crime. Currently, I am tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. 1 Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.



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    All times in this document are Eastern Standard Time (“EST”).
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On or about February 26, 2021, a tipster (“Tipster 1”) submitted information to law
enforcement regarding Ruben Reyna (“REYNA”). Tipster 1, who previously worked with
REYNA, provided information that REYNA was present at the U.S. Capitol on January 6, 2021.
The tipster was friends with REYNA on Facebook and observed a post on REYNA’s Facebook
account regarding REYNA’s involvement at the U.S. Capitol. As shown in the screen shots
provided by Tipster 1 below, the post included photos from inside of the U.S. Capitol building, as
well as the hashtags “our house” and “stop the steal.”




                              Image 1 – Screen Shot from Facebook

REYNA subsequently deleted his social media posts relating to the events of January 6, 2021. A
search warrant was conducted on REYNA’s Facebook account, which revealed that REYNA did
in fact post the above photographs. In addition, REYNA messaged another person that he was
“waiting for an interview with [the FBI’s] corrupt ass since i did nothing wrong” and “never went
inside.”



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        Based on my investigation, including my review of REYNA’s driver’s license photograph,
REYNA is the individual pictured with glasses and dark facial hair wearing a red hooded
sweatshirt, a gray jacket, a beanie cap, and holding up four fingers. Tipster 1 was interviewed on
October 4, 2021, and verified that the information provided in the original tip was correct. Tipster
1 also identified REYNA in the above Facebook photos.

       Further corroboration was provided by a second tipster (“Tipster 2”) who had previously
worked with REYNA. Tipster 2 also identified REYNA in the Facebook screen shots from January
6, 2021.

        A third tipster (“Tipster 3”) attended school with Subject 1, who is the subject of an
investigation by the FBI Denver Field Office. Subject 1 was included in the Facebook post by
REYNA as being with REYNA on January 6, 2021. Tipster 3 identified REYNA based on social
media posts that REYNA and Subject 1 posted or were tagged in.

       Your Affiant reviewed closed circuit television (“CCTV”) taken from inside the U.S.
Capitol building on January 6, 2021. REYNA and Subject 1 were observed entering the U.S.
Capitol building through a broken window. The above Facebook post depicts REYNA outside the
broken window that he and Subject 1 were observed entering on CCTV. Subject 1 was interviewed
and admitted to entering the U.S. Capitol building through a window.

         The clothing worn by REYNA in the CCTV footage matches the clothing worn by REYNA
in his social media posts. While inside the Capitol, REYNA and Subject 1 looked around, appeared
to have taken photos or video with their phones, and then exited out of the same window that they
entered through. REYNA remained inside the U.S. Capitol for approximately 56 seconds.




                                Image 2 – Screen Shot from CCTV




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                             Image 3 – Screen Shot from CCTV

        Image 3, above, was shown to Subject 1 during an interview, and Subject 1 identified
REYNA in the image. The above image is zoomed in below, with REYNA depicted in the top
right corner:




                         Image 4 – Zoomed in Screen Shot of CCTV

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       Another screenshot shows REYNA using his phone while inside the Capitol.




                            Image 5 – Zoomed in Screen Shot of CCTV

        Subject 1 and a tipster both identified a phone number ending in -1494 as REYNA’s phone
number. Historical cell site analysis of the phone number ending in -1494 showed that it was in
the vicinity of the U.S. Capitol between 1:00 p.m. and 6:30 p.m. on January 6, 2021.

       On December 20, 2022, REYNA was interviewed by Affiant at REYNA’s place of
residence in Detroit, Michigan. REYNA stated that on January 5, 2021, he traveled from Detroit,
Michigan to Washington, D.C., with his friend, Subject 1, along with Subject 1’s family members.
REYNA, Subject 1, and Subject 1’s family members woke up early on January 6, 2021 to hear
Former President Donald Trump speak at a rally. When Former President Trump’s speech
concluded around 1:00 p.m., REYNA and Subject 1 proceeded to the U.S. Capitol along with
many others. As REYNA approached the U.S. Capitol, he noticed there were already many people
on the U.S. Capitol grounds attempting to enter the U.S. Capitol. REYNA described the scene as
chaotic, with people loudly chanting, tear gas in the air, law enforcement face-to-face with rioters,
and the doors to the U.S. Capitol being held open by individuals dressed in black.

       Initially, REYNA claimed to Affiant that he stayed around the U.S. Capitol for about
twenty minutes and then left; he denied entering the U.S. Capitol building. However, after being
shown Image 4, above, REYNA admitted that he and Subject 1 did enter the U.S. Capitol building.
REYNA stated that he followed other rioters into the U.S. Capitol building out of curiosity and a


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desire to record what was taking place. REYNA admitted to getting “swept up in the passion of
the moment.” He stated that he did not cross any barricades and stressed that if there has been a
barricade, he would not have crossed it. REYNA confirmed that he and Subject 1 entered the U.S.
Capitol building through a broken window. REYNA stated that as he and Subject 1 approached
the U.S. Capitol building, REYNA had a feeling that he was approaching a threshold that should
not be crossed. REYNA stressed that his intent was only to peacefully protest.

       REYNA stated that after stepping inside briefly, he and Subject 1 exited the U.S. Capitol
building and proceeded to their hotel. On January 7, 2021, REYNA, Subject 1, and Subject 1’s
family left Washington, D.C., for Detroit, Michigan.

        Based on the foregoing, your Affiant submits that there is probable cause to believe that
REYNA violated 18 U.S.C. § 1752(a)(1) and (2), which make it a crime to (1) knowingly enter or
remain in any restricted building or grounds without lawful authority to do so; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Your Affiant submits there is also probable cause to believe that REYNA violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 25th day of August, 2023.                              Zia M. Faruqui
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                                                                        14:31:14 -04'00'
                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE




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